CASE 0:25-mj-00376-JFD Doc.4 _ Filed 06/16/25 Page1of2

2025R00345
UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA
Case No. 25-mj-376 (JFD)
IN THE MATTER OF THE FILED UNDER SEAL PURSUANT TO
COMPLAINT AND ARREST OF COURT ORDER
VANCE LUTHER BOELTER
ORDER FOR SEALING

This Court, having reviewed the Petition of the United States herein, finds that the
United States has shown a compelling interest in the sealing of documents in the above-

captioned matter because:
a. Nondisclosure of the arrest warrant documents is necessary to prevent Boelter
from continuing their flight from prosecution.
b. Nondisclosure of the arrest warrant documents is necessary to prevent the
ongoing investigation from being compromised.
c. Nondisclosure of the arrest warrant documents is necessary to effectuate the
arrest of Boelter without compromising officer safety.
This Court also finds that less restrictive alternatives to sealing are impracticable or
not appropriate.
It is therefore:
ORDERED that all documents filed in the above-captioned matter are hereby sealed
until the close of business on June 15, 2026.
IT IS FURTHER ORDERED that these documents will be unsealed at the above time

unless further compelling interest is shown by the United States for continuing this Order

for an additional period of time.
CASE 0:25-mj-00376-JFD Doc.4 _ Filed 06/16/25 Page 2of2

IT IS FURTHER ORDERED that the warrant materials may be disclosed to other law

enforcement entities, including those outside the United States, for the purpose of executing

Mun F. Deeks

Honorable John F. Docherty
nited States Magistrate Judge

the arrest warrant.

Dated: June 15, 2025

